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                                                           June 5, 2019

By ECF and E-mail (Failla_NYSDChambers@nysd.uscourts.gov)
Hon. Katherine Polk Failla
United States District Court Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 618
New York, New York 10007

       RE: Winter Investors, LLC, et al. v. Scott Panzer, et al. Case No. 14-cv-6852
Dear Judge Failla:

My firm represents co-plaintiff Winter Investors, LLC (“Winter”) in this matter. Pursuant to
Your Honor’s May 9 Order (Doc. 118) and the May 9 Amended Default Judgment (Doc.127), I
am writing on behalf of Winter and co-plaintiff Jacob Frydman to request an inquest as to
damages against defendants Etr Investors Holdings, LLC, Etre Financial, LLC, f/k/a Etre
Financial Holdings, LLC, Etre Financial Holdings, LLC and Etre Financial, LLC, against whom
the Amended Default Judgment was entered.
                                                           Respectfully submitted,


                                                           Lewis S. Fischbein
cc:    David Fryman, Esq. (representing defendants Scott Panzer, SMP Realty NM, LLC, Paul
       Frischer, Frischer Kranz, Inc, Jesse Stein, and JS3 Alternative Investments, LLC (by ECF
              and email)
       Sol Mayer, defendant pro se (by ECF and email)
       Eli Verschleiser, defendant pro se (by ECF and email)
       EVE, LLC, defendant, c/o Eli Verschleiser (by email)
       Jacob Frydman, co-plaintiff (by email)
